  Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 1 of 16 PageID #:3201




                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION
_________________________________________________________

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,
         Plaintiff, and
                                               Case No. 1:17-cv-06753
ESTATE OF RICHARD RASCHER,
          Plaintiff-Intervenor,
                                               Judge Valderrama
      v.

S&C ELECTRIC CO.,
            Defendant.
_________________________________________________________

        PLAINTIFF EEOC’S MEMORANDUM IN SUPPORT
          OF RESPONSE TO DEFENDANT’S MOTION TO
ENFORCE SETTLEMENT AGREEMENT AND ENTER CONSENT DECREE

      Plaintiff U.S. Equal Employment Opportunity Commission (“EEOC”) and

Defendant S&C Electric Company (“SCE”) never reached a full and enforceable

agreement, in principle or otherwise, on terms to resolve this matter. SCE’s motion

is a transparent attempt to use the Court to buffalo EEOC into an involuntary

settlement agreement, despite the clear fact that the parties never had a meeting of

the minds on the terms and never had written agreement and EEOC’s trial attorney

did not agree to settle, and could not because he lacked the authority to do so. Further,

even if there were an agreement, it would be unenforceable under the Statute of

Frauds. Although EEOC and SCE have never reached terms on a settlement

agreement, EEOC does not argue with Rascher’s Motion to Enforce Settlement

between Rascher and SCE, Dkt. 185.



                                           1
    Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 2 of 16 PageID #:3202




                                               Facts

        On Saturday August 7, 2021, the Court scheduled a status hearing to begin

Monday, August 9, 2021. Dkt. 176. On August 9, during the status hearing, Judge

Valderrama asked the parties to engage in settlement discussions. The parties agreed

that such discussions may be fruitful and proceeded to engage in a settlement

discussion. The parties discussed terms of settlement between EEOC and SCE and,

based solely on representations made by the Court, briefly believed the remaining

issues between EEOC and Defendant may have been resolved1. Rascher and SCE

then discussed the parameters of a monetary settlement and reached an agreement

on those terms. Then, Judge Valderrama recited terms on which the parties would

agree to a settlement:

        [T]he length of the consent decree was agreed to, and that was 18
        months. The training was also agreed to, which I had previously recited,
        in which the S&C would have to inform EEOC the name of the trainers.
        EEOC would have the right to object to the name of the trainers, but the
        EEOC would not be providing the content for the training. The posting,
        it was eventually agreed, that the posting in the Chicago location human
        resources department is okay, because this is the place where S&C
        typically communicates with its employees regarding company matters.
        As to the last aspect, which was the issue of an employee seeking to
        return to work, after several bouts of going back and forth it was agreed
        upon that the S&C is required to inform the EEOC whenever an
        employee who seeks to return to work is not, in fact, returned to work,
        but instead, is terminated. If the employee registers a disagreement
        with S&C regarding that employee’s ability to return to work, at that
        point, S&C’s obligation is triggered to notify EEOC of that
        disagreement. In addition, S&C is required to maintain all records that
        the employee submits in support of his or her eligibility to return to
        work. Similarly, if S&C launches an investigation regarding that
        employee’s claim to be able to return to work, those records must also be

1The parties had not been exchanging edited drafts of EEOC’s proposed consent decree during the
negotiating session, but relied upon the Court’s representations as to what issues continued to need
resolution

                                                  2
  Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 3 of 16 PageID #:3203




      retained by S&C. As I indicated, it is an 18-month consent decree, and
      based on that 18 months there will be two reporting periods, one at six
      months and one at 15 months. The manner in which the reports are
      generated is pretty flexible, typically done by way of an Excel spread
      sheet or can even be done by way of a letter.
Dkt. 192, Transcript of August 9, 2021 Hearing (“Dkt. 192, 8/9/21 Tr.”) 12:25-14:7.

Judge Valderrama went on to describe the terms between Rascher and SCE. Dkt.

192, 8/9/21 Tr. 14:8-15. In reciting terms, Judge Valderrama listed neither the scope

of the injunction against discrimination nor the scope of the injunction against

retaliation. See Dkt. 192, 8/9/21 Tr. 14:8-15. EEOC agreed that the terms listed by

Judge Valderrama were the terms to which the parties agreed. Dkt. 192, 8/9/21 Tr.

14:21-15:6. Judge Valderrama then asked SCE whether it agreed with the terms

stated. Defendant did not agree. Recognizing that the judge did not state anything

about the scope of injunction, counsel for SCE requested the following additions to

Judge Valderrama’s recitation of terms:

      You accurately set forth the issue on when the record keeping and
      reporting would be triggered. Part of our discussion was that also needs
      to be reflected in what was Paragraph 4 of the consent decree, just the
      injunction language itself, that should be tailored to include the
      terminated piece that you described. That would be point number one.
      And then the second point is we had told you in our first discussion that
      we are not prepared for that injunction language in Section 5 that talks
      about retaliation or accommodations because of the nature of the case,
      it did not include those components. So our understanding is those are
      out.
Dkt. 192, 8/9/21 Tr. 15:11-24. The parties proceeded to talk about the scope of

injunction against retaliation in paragraph 5 but did not address the injunction

against discrimination in paragraph 4. The parties did not reach an agreement on

injunctive relief, and the conference ended around 5:00 PM without a settlement.


                                          3
  Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 4 of 16 PageID #:3204




      After the settlement conference, SCE provided a proposed revision to the draft

language EEOC had provided to paragraph 5 narrowing the scope of the injunction

against retaliation. Exhibit A. After the parties exchanged drafts of the language, id.,

the parties agreed on the text of paragraph 5.

      Counsel for SCE Brandon Liss and Steve Brenneman then contacted Counsel

for EEOC Miles Shultz. Exhibit B ¶ 10. They asked Shultz whether the parties could

communicate to the Court that the parties had reached an agreement. Id. at ¶¶ 11-

12. Shultz indicated that, although the parties reached an agreement on paragraph

5, and that SCE could tell the Court that the parties reached an agreement on

paragraph 5, that Ethan Cohen, supervisory trial attorney for the EEOC with

authority to settle on its behalf, would follow up with the parties with an email

memorializing    the   terms   to   which   the   parties   agreed   to   prevent   any

miscommunication prior to telling the Court that the parties agreed. Id. In preparing

his email, Cohen reviewed contemporaneous notes prepared by Jane Jozefowicz, a

paralegal for EEOC who had listened to the settlement conference, and realized that

SCE might have an objection to paragraph 4 regarding the injunction against

discrimination. Exhibit C ¶ 14. Before Cohen sent his email, SCE represented to the

Court “that the parties have reached an agreement in principle to settle the case

pursuant to the terms set forth by the Court at today’s hearing, as well as a modified

Paragraph 5 of the consent decree.” Exhibit D. Although Shultz told SCE that EEOC

would not object to SCE informing the Court about the agreement to paragraph 5, he

did not authorize SCE to tell the Court there was an overall agreement as Cohen was



                                            4
  Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 5 of 16 PageID #:3205




actively preparing an email to send to SCE. Ex. B ¶¶ 11-13. In response, Cohen

emailed SCE, Rascher, and the Court asking whether, by sending the email, SCE no

longer objected to the language in paragraph 4, or if they did, to inform the Court

that the parties had not settled. Exhibit E, pg. 3-4. SCE stated that they did not agree

to the language in paragraph 4. Ex. E, pg. 1. Cohen asked SCE to provide updated

language to paragraph 4 if they wished to continue discussing settlement, and SCE

did not respond. Id. Nor did SCE respond to Cohen’s repeated inquiry about whether

SCE disputed any of the other terms of the agreement as set forth in the proposed

Consent Decree EEOC had sent to Defendant in September 2020. See id.

      The following day, Judge Valderrama asked the parties whether they had

reached a settlement. Both EEOC and SCE indicated that the case was not resolved.

See Dkt. 193, Transcript of August 10, 2021 Hearing (“Dkt. 193, 8/10/21 Tr.”) 5:24-

6:5. SCE indicated it was prepared to “keep working . . . to address the issues that

remain.” Id. at 9:2-3.

      SCE then filed its motion to enforce the settlement with a draft decree as an

exhibit. Dkt. 188; 188-1. At no point prior to filing this motion had SCE provided

counter-provisions to language proposed by EEOC other than its revision to

paragraph 5, provided on August 9, 2021. The decree included revised language to

paragraph 4, Id. The decree also includes a provision about training stating that

“[d]uring each of the eighteen (18) months covered by this Decree, S&C’s managers

and all employees responsible for human resources and medical evaluations shall be

trained” on their obligations under the ADA, id. at PageID#3088, and that SCE will



                                           5
    Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 6 of 16 PageID #:3206




post a notice to its employees for two years, id. at PageID#3092. In their haste to

claim the existence of an imaginary settlement, Defendant appears to insert terms it

never would have agreed to during negotiations2.

                                             Argument

        SCE and EEOC have, at no time, entered into an enforceable settlement

agreement because there was never a meeting of the minds on the scope of the

injunction against discrimination, a fact SCE admitted in Court, nor had Defendant

ever communicated to EEOC that it would accept the language of EEOC’s proposed

Consent Decree sent to Defendant in September 2020. SCE misrepresents the out of

court and unrecorded phone call between Miles Shultz and Brandon Liss and Steve

Brenneman that prompted Liss’s email to the Court. Shultz’s recollection, and the

parties’ subsequent emails, also demonstrate that there was no meeting of the minds

on the terms of paragraph 4 and the wording of the Decree. Further, even if Shultz

had believed that the parties had resolved all material terms and informed SCE’s

counsel during their phone call, which he did not, EEOC’s trial attorney did not have

authority to settle on behalf of EEOC, and the settlement would not be enforceable.

        Even if the Court found that there had been a meeting of the minds on the

material terms of the decree, and that an agreement had been reached, any such

agreement would be unenforceable under the Statute of Frauds because it could not



2 Although SCE likely did not intend to ask the court to enter the consent decree with the monthly
training provision, in filing its motion, it has represented that the decree, including that provision, is
the agreement that it accepts and that the court should enter. SCE has never said it would not
accept 18 monthly trainings. Thus, should the Court enter the decree, EEOC would expect the decree
to include the terms that SCE accepts in its exhibit A, including 18 monthly trainings of its entire
staff and posting notice for two years.

                                                    6
  Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 7 of 16 PageID #:3207




be performed within one year. Because of all these issues, all of EEOC’s actions were

in good faith and SCE should not be given attorney’s fees or venire costs.

        Although EEOC and SCE do not have an enforceable settlement, Rascher and

SCE may have an enforceable settlement for the complaint in intervention. The

absence of a settlement between EEOC and SCE does not preclude a settlement

between SCE and Rascher of Rascher’s complaint in intervention, and such a

settlement does not affect EEOC’s ability to seek relief independently through the

court. EEOC has no objection to this settlement.

   I.      There has never been a settlement between EEOC and SCE

        At no point during or after the hearing did the parties reach a meeting of the

minds on the scope of the injunction against disability embodied in paragraph 4. The

parties, at most, agreed to the terms the Court set out at the hearing, which did not

include a change to the scope of the injunction against disability discrimination, and

the language in paragraph 5 determined after the status conference ended. SCE’s

argument that the parties settled the case at the 7:57 p.m. phone call with Shultz is

mistaken because 1) Shultz did not state they had a settlement on all material terms

and did not authorize Defendant to make such a representation to the Court and 2)

Shultz did not have the necessary authority to enter into a settlement. Defendant

mischaracterizes a rushed and disjointed out of court negotiation where the terms

that SCE would have the Court impose were never set out as SCE describes and were

never agreed to by EEOC. Further, any attempt at arguing there is an oral agreement

is unenforceable under the Statute of Frauds.



                                           7
  Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 8 of 16 PageID #:3208




   a. EEOC and SCE did not agree on terms for paragraph 4

      First, there was no agreement on a full settlement at any point. “Settlement

agreements are contracts and are interpreted according to the law of the jurisdiction

in which the contract was allegedly created—here, Illinois.” Bradbury v. Morris

Hosp., No. 18 C 3227, 2019 WL 2387577, at *2 (N.D. Ill. Feb. 26, 2019). Therefore,

with a settlement agreement, it must follow a contract with “an offer to settle, an

acceptance of the offer, and a meeting of the minds.” Id. “The material terms of the

settlement agreement must be ‘definite and certain,’ so the Court can determine when

a breach occurs.” Id. (emphasis added).

      Here, there was no meeting of the minds and proposed terms were far from

definite and certain. Before the email Cohen sent at 9:02 p.m., there was no

agreement made during the settlement conference with the Court. Statements by

the Court were the only memorialization of the discussions and they did not mention

narrowing the scope of the injunction against disability or retaliation, see Dkt. 192,

8/9/21 Tr. 12:25-14:7, and occurred during a time when Cohen, the EEOC’s only

participant with authority at the settlement conference, was attempting to enter the

courthouse and pass through security for a COVID test, see Ex. C ¶ 4; Dkt. 192, 8/9/21

Tr. 11:22-12:5. SCE made statements at that time that there was still disagreement

over paragraph 4, and there was no discussion or agreement on the terms of

paragraph 4. Dkt. 192, 8/9/21 Tr. at 15:11-18. At the end of the status hearing, the

judge states his understanding that that there is no agreement because EEOC was

unwilling to accept “the revised paragraph 5.” Dkt. 192, 8/9/21 Tr. 35:15-20. There



                                          8
  Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 9 of 16 PageID #:3209




is no confirmation from the EEOC or SCE that paragraph 5 was the only remaining

issue. The EEOC indicated that it was willing to continue discussions, Id. at 35:5-14,

but stated unequivocally that settlement had not been reached. Id. at 37:39-22. It

was not until Cohen reviewed notes from the call that he was able to infer that

Defendant may have objected to paragraph 4, and presumably continued to object.

Ex. C ¶ 14. There is no evidence that there has been a certain or definite meeting of

the minds on paragraph 4 through any of this language. Due to the issues with

paragraph 4 to date, there is no doubt this was a material term that was not definite

and certain at the time of the alleged settlement. See e.g., Ex. D-E.

      In addition, the phone call at 7:57 p.m. did not happen as Defendant claims.

Shultz stated on that phone call that there had been an agreement on the revised

paragraph 5, but that Cohen was sending an email memorializing EEOC’s

understanding of all the terms of the proposed resolution to determine whether there

was in fact agreement on all material terms. See Ex. B at ¶ 11. Shultz indicated that

this was important due to miscommunications in the past. Id. This was also

important because, during the settlement conference, Cohen was at the courthouse

for COVID testing, and Shultz was only present during portions of the settlement

conference, was not as well versed in what had been discussed during the breakout

sessions and was aware only of what the Court recited at the end of the day. Id. at ¶¶

2-4. When asked about communicating our position at that moment, Shultz only

agreed to informing the Court of the agreement to the language in paragraph 5

because Cohen was writing a full email on the proposed terms make sure both parties



                                           9
 Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 10 of 16 PageID #:3210




were on the same page. Id. at ¶ 11. An email that was being drafted as SCE sent its

email to the Court. Overall, there was never a meeting of the minds on the scope of

the injunction embodied in paragraph 4, and thus there is no enforceable settlement.

      The cases that SCE cites in support of its motion are inapposite because unlike

SCE’s case, either (1) the movant sought to enforce a settlement agreement that was

fully executed, see E.E.O.C. v. Regal-Beloit Corp., 06-C-568-S, 2007 WL 5614093, at

*2 (W.D. Wis. May 1, 2007); Holmes v. Godinez, 991 F.3d 775, 779 (7th Cir. 2021); (2)

there was a signed agreement on material terms, see Ortiz-Quinones v. Cook County,

Illinois, 744 Fed. Appx. 962, 963 (7th Cir. 2018); the parties agreed on all of the

material terms before the magistrate judge at a settlement conference, see Lynch, Inc.

v. SamataMason Inc., 279 F.3d 487, 489 (7th Cir. 2002); or the disputes that remained

regarded only non-material terms, Dillard v. Starcon Intern., Inc., 483 F.3d 502, 506

(7th Cir. 2007). None of those circumstances describe this case. There was never a

signed consent decree, a signed agreement on material terms, a statement in court

that the parties agreed on the material terms, and the disputes over the scope of the

injunction are material terms of any settlement.

      Defendant points to no evidence that EEOC agreed to any changes in

paragraph 4. See Hearing Transcript at 15:11-37:25. Overall, there was no meeting

of the minds and no settlement reached by the EEOC with S&C Counsel.


   b. SCE may not rely on the alleged representation of an EEOC trial
      attorney who did not have authority to settle on behalf of EEOC
       In addition to the lack of agreement on paragraph 4, Shultz did not have the

authority to enter into a settlement on that phone call. He informed Defendant’s

                                         10
    Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 11 of 16 PageID #:3211




counsel of this by stating that Cohen was sending an email to confirm whether there

was an agreement on all material items. Ex. B at ¶ 11. “An attorney’s authority to

settle a lawsuit is entirely separate from his authority to represent a client in

litigation[.]” Magallanes v. Ill. Bell Tel. Co., 535 F.3d 582, 584 (7th Cir. 2008). “An

attorney’s authority to agree to an out-of-court settlement will not be presumed, and

the burden of proof rests on the party alleging authority to show that fact.” Id.; Higbee

v. Sentry Ins. Co., 253 F.3d 994, 999 (7th Cir. 2001). In fact, if it is an out of court

settlement, “opposing counsel is put on notice to ascertain the attorney’s authority. If

opposing counsel fails to make inquiry or to demand proof of the attorney’s authority,

opposing counsel deals with the attorney at his or her peril.” Johnson v. Dart, No. 09

C 6940, 2011 WL 3157298, at *3 (N.D. Ill. July 26, 2011). Here, not only did Shultz

not accept settlement, he could not have accepted settlement on behalf of EEOC. In

his telephone conversations, he noted that he was waiting on Cohen’s email to make

sure no mistakes were made in the proposed settlement and did not approve an

agreement on al terms. See Ex. B at ¶ 11-13.

        Defendant makes a conclusory argument that because paragraph 5 was the

only issue they raised outside of Court that EEOC agreed to removing paragraph 4.

There is no evidence of this3. At no time during the on-the-record hearing did EEOC



3In fact, in contrast to SCE’s argument that the court should enforce the decree based on the email
Liss sent to the court representing an agreement, Liss’s email states “We are writing to inform the
Court that the parties have reached an agreement in principle to settle the case pursuant to the
terms set forth by the Court at today’s hearing, as well as a modified Paragraph 5 of the
consent decree.” (emphasis added). The terms set forth by the Court did not include any change to
the scope of the injunction against discrimination under paragraph 4. See Dkt. 192, 8/9/21 Tr. 12:25-
14:7. Thus, if Liss’s email supports enforcing the supposed settlement, it does so under the original
draft of paragraph 4 without the narrower injunction against discrimination.

                                                 11
 Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 12 of 16 PageID #:3212




agree to any revision to paragraph 4, and Defendant does not claim to have discussed

paragraph 4 with EEOC any further that evening. Overall, SCE has shown no

evidence the parties agreed, and Schultz did not have the authority to settle.

   c. Any oral settlement would be unenforceable under the Statute of
      Frauds
      Under Illinois law an oral agreement to settle a case is unenforceable if it

would violate the state Statute of Frauds. Lynch, Inc. v. SamataMason Inc., 279 F.3d

487, 490 (7th Cir. 2002). Under the Statute of Frauds, “[n]o action shall be brought . . .

upon any agreement that is not to be performed within the space of one year . . .

unless the promise or agreement . . . shall be in writing, and signed[.]” 740 Ill. Comp.

Stat. 80/1; Solaia Tech. LLC v. ArvinMeritor, Inc., 02 C 4704, 2006 WL 695699, at

*11 (N.D. Ill. Mar. 16, 2006) (holding that an oral settlement agreement with a

covenant not to sue that extended beyond one year was unenforceable under the

Illinois Statute of Frauds). In Richard Knorr Intern., Ltd. v. Geostar, Inc., 08 C 5414,

2010 WL 3419504, at *3 (N.D. Ill. Aug. 25, 2010), the court found that an oral

settlement agreement was unenforceable, in part, because the parties agreed to a

payment plan that extended beyond one year. Id. The court held that, “[b]y its terms,

this payment schedule cannot be performed within the space of one year; it is

therefore governed by § 80/1 of the Frauds Act.”

      Similarly, both EEOC and SCE agreed that the term of the consent decree

would be 18 months. The decree, by its terms, could not be performed within the space




                                           12
    Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 13 of 16 PageID #:3213




of one year, and thus would require a written, signed agreement to be enforceable4.

No such writing exists, and thus, even if the parties had reached a meeting of the

minds, the decree would be unenforceable. On that basis, SCE’s motion to enforce

should be rejected.

     II.      An enforceable settlement may exist between SCE and Rascher

           Plaintiff-Intervenor argues in its Motion to Enforce Settlement that it reached

an agreement with SCE on monetary relief. Dkt. 185. This may have created a

settlement that the Court may enforce between SCE and Rascher, despite the fact

that there was never a settlement between EEOC and SCE.

           Although EEOC and SCE never reached a settlement, Rascher and SCE

agreed to resolve the complaint in intervention for $315,000. Dkt. 192, 8/9/21 Tr.,

12:7-24. Further, although SCE objected to Judge Valderrama’s recitation of terms

on the basis of a dispute over paragraphs 4 and 5 related to injunctive relief, it did

not object to the terms on the basis of monetary relief. See Id. at 15:11-24. The

transcript contains no statements that SCE would not agree to settle with Rascher

without an agreement with EEOC. Further, during the hearing on August 10, 2021,




4Although an oral settlement agreement made during a court ordered settlement conference is
exempt from the statute of frauds, See Locasto v. Locasto, 518 F. Supp. 2d 1025, 1030 (N.D. Ill.
2007), in this case, there was no agreement during the settlement conference. SCE acknowledges as
much when it argues that the agreement on the terms of settlement occurred in the evening of
August 9, 2021. See Dkt. 188, PageID#3077. Any agreement, if it occurred as SCE relates, occurred
at least in part outside of court; at no point did any party say that they had reached an agreement
during the settlement conference or the hearing on August 10, 2021. Further, courts will not “enforce
a partial bargain that one side or the other would have rejected as incomplete.” PFT Roberson, Inc. v.
Volvo Trucks N.A., Inc., 420 F.3d 728, 731 (7th Cir. 2005). “Parties may negotiate toward closing a
deal without the risk that a jury will think that some intermediate document is a contract, and
without the fear that by reaching a preliminary understanding they have bargained away their
privilege to disagree on the specifics.” Id (cleaned up).

                                                 13
    Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 14 of 16 PageID #:3214




counsel for Rascher stated that she had a settlement with SCE, Dkt. 193 8/10/21 Tr.

7:15-18, and SCE’s counsel did not dispute the “sentiment on the settlement,” Dkt.

193. 8/10/21 Tr. 8:17-18.

        Additionally, there is no legal requirement that SCE’s settlement with Rascher

is, or should be, contingent on a global settlement between SCE and both plaintiffs,

and a settlement of the complaint in intervention would in no way limit EEOC’s

ability to continue its suit against SCE. A complaint brought by a plaintiff-intervenor

is independent of claims brought by EEOC, even if those claims relate to the same

charging party, because EEOC’s has independent authority to file lawsuits and its

power to do so is not merely derivative of the claims of the charging party. See

E.E.O.C. v. Union P. R.R. Co., 867 F.3d 843, 851-852 (7th Cir. 2017); E.E.O.C. v.

Waffle H., Inc., 534 U.S. 279, 291 (2002) (“The statute clearly makes the EEOC the

master of its own case and confers on the agency the authority to evaluate the

strength of the public interest at stake . . . if the agency makes that determination,

the statutory text unambiguously authorizes it to proceed in a judicial forum”)5. Thus,

because “EEOC stands not just in the shoes of the individual, but as an enforcement


5 It has long been held that the EEOC has its own role in bringing cases under its statutory
authority, that its interests are distinct from and not co-extensive with a charging party’s. See
E.E.O.C. v. Union P. R.R. Co., 867 F.3d 843, 851 (7th Cir. 2017) (holding that preventing the EEOC
from continuing an investigation after the disposition of the charging party’s case “would not only
undercut the EEOC’s role as the master of its case under Title VII, it would render the EEOC’s
authority as ‘merely derivative’ of that of the charging individual contrary to the Supreme Court’s
holding[.]”); Gen. Tel. Co. of the N.W., Inc. v. E.E.O.C., 446 U.S. 318, 331 (1980) (“[T]he EEOC is
authorized to proceed in a unified action and to obtain the most satisfactory overall relief even
though competing interests are involved and particular groups may appear to be disadvantaged. The
individual victim is given his right to intervene for this very reason.”); In re Bemis Co., Inc., 279 F.3d
419, 421 (7th Cir. 2002) (“The EEOC’s primary role is that of a law enforcement agency and it is
merely a detail that it pays over any monetary relief obtained to the victims of the defendant’s
violation[.]”); E.E.O.C. v. Watkins Motor Lines, Inc., 553 F.3d 593, 597 (7th Cir. 2009) (noting that
“the agency’s powers are independent of any resolution between employer and employee”).

                                                   14
 Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 15 of 16 PageID #:3215




vehicle for the public interest . . . [s]eparate, private agreements to which the EEOC

is not a party do not necessarily vitiate the EEOC’s authority to proceed in

furtherance of the public interest.” E.E.O.C. v. Contl. Airlines Inc., 04 C 3055, 2006

WL 3505485, at *1 (N.D. Ill. Dec. 4, 2006). Whether the Court enforces a settlement

of the complaint in intervention between SCE and Rascher would not determine the

ultimate outcome of EEOC’s suit.

   III.     The EEOC’s Actions Were in Good Faith

      SCE’s Counsel asks for the EEOC to be responsible for attorney’s fees and

venire costs. As shown through its arguments, the EEOC acted in good faith when it

asked SCE about the terms of the settlement. The parties did not agree on the

material terms; EEOC did not refuse to abide by the terms of any settlement because

there was no settlement. SCE cannot point to any bad faith actions directed at them.

In fact, SCE’s email to the Court representing that the parties had settled was sent

without permission to inform the Court of an overall settlement. Thus, any

responsibility on the failure to settle is on SCE and therefore they should not be

awarded attorneys’ fees or venire costs.

                                   CONCLUSION

      For the foregoing reasons, EEOC respectfully requests this Court deny

Defendant’s Motion to Enforce Settlement Agreement and Enter a Consent Decree.

Dkt. 188.


Dated: August 20, 2021                     Respectfully submitted,




                                            15
Case: 1:17-cv-06753 Document #: 194 Filed: 08/20/21 Page 16 of 16 PageID #:3216




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                                      16
